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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS        )
CORPORATION, et al.,               )
                                   )
          Plaintiffs,              )
                                   )
    v.                             )       Case No. 8:16-cv-00860-DKC
                                   )
FINANCIAL INDUSTRY                 )
REGULATORY AUTHORITY, INC.,        )
                                   )
          Defendant.               )
                                   )

    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
      PRELIMINARY INJUNCTION AND PERMANENT INJUNCTION




                                         NORTON ROSE FULBRIGHT US LLP
                                         799 9th Street NW, Suite 1100
                                         Washington, D.C. 20001-4501
                                         Attorneys for Plaintiffs
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       Scottsdale Capital Advisors Corporation (“SCA”), John J. Hurry, Timothy B. DiBlasi,

and Darrel Michael Cruz (collectively “Plaintiffs”) respectfully submit this Memorandum of

Law in support of their motion to preliminarily and permanently enjoin the Financial Industry

Regulatory Authority, Inc. (“FINRA”) from continuing to prosecute a disciplinary proceeding

that is outside of the jurisdiction conferred upon FINRA by the Securities Exchange Act of 1934

(the “Exchange Act”).

                                        INTRODUCTION

       SCA is a FINRA-registered broker-dealer. Mr. Hurry is SCA’s co-founder and one of its

directors. Mr. DiBlasi is SCA’s Chief Compliance Officer. Mr. Cruz is SCA’s former President.

Together, Plaintiffs invoke this Court’s equitable power to enjoin an ultra vires administrative

action. Despite its limited statutory mandate under the Exchange Act, FINRA, a private, non-

governmental body that regulates broker-dealers, has instituted a disciplinary proceeding against

Plaintiffs for alleged violations of a separate statute—the Securities Act of 1933 (the “Securities

Act”). In so doing, FINRA has violated the securities-industry regulatory scheme devised by

Congress, which vests the Securities and Exchange Commission (“SEC”) with exclusive

authority to bring disciplinary proceedings against broker-dealers and their associated persons

for alleged violations of the Securities Act (and other specified federal securities laws).

FINRA’s ultra vires proceeding has caused and will continue to cause Plaintiffs to suffer

immediate and irreparable harm. Injunctive relief, therefore, is both necessary and justified.

       In May 2015, FINRA initiated a disciplinary proceeding against Plaintiffs (FINRA Case

No. 2014041724601), asserting violations of Section 5 of the Securities Act, which generally

prohibits the public distribution of unregistered securities absent an exemption. The Section 5
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claims are the predicate for charged violations of FINRA Rule 2010, the organization’s general

ethical rule, which provides that “[a] member, in the conduct of its business, shall observe high

standards of commercial honor and just and equitable principles of trade.” FINRA R. 2010.

       FINRA’s disciplinary authority is governed by Sections 15A and 19 of the Exchange Act.

Together, these provisions permit FINRA to discipline its members only for violations of “this

chapter,” “the rules and regulations thereunder,” and the organization’s own rules. Because the

Exchange Act occupies a different chapter in the United States Code from the Securities Act, the

plain and unambiguous text of FINRA’s enabling legislation forecloses disciplinary actions

premised upon alleged violations of the Securities Act. Further, other provisions of the

Exchange Act—including Section 19(h), which sets forth the disciplinary authority of the SEC—

specifically refer to the Securities Act or use statutorily defined terms that encompass the

Securities Act, thereby conclusively demonstrating Congress’s intent to limit FINRA’s

enforcement power to the provisions of the Exchange Act.

       Plaintiffs have raised FINRA’s lack of jurisdiction with FINRA, to no avail. Specifically,

Plaintiffs requested that the Hearing Officer in the disciplinary proceeding dismiss the complaint

for want of statutory authority, but the Hearing Officer—an attorney employed by FINRA—

denied Plaintiffs this relief. In a written order, the Hearing Officer concluded that FINRA may

assert jurisdiction over any law under the guise of FINRA Rule 2010, despite the Exchange Act’s

express textual limitations, as long as the conduct at issue relates to “just and equitable principles

of trade” and “protect[ion] of investors and the public interest.” This interpretation of FINRA’s

enabling legislation subverts the statutory text and renders the disciplinary proceeding ultra vires.




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       The FINRA proceeding is scheduled for a two-week hearing commencing June 13, 2016.

FINRA ordered this hearing to take place in Los Angeles even though Plaintiffs all reside in

either Arizona or Nevada, and none of the alleged conduct has any nexus to California.

Plaintiffs’ preparation for the hearing, including incurring significant legal fees and expenses for

the completion of witness and exhibit lists and pre-hearing briefing, will begin imminently, with

significant deadlines approaching in mid-April. Accordingly, injunctive relief is necessary, both

to preserve Plaintiffs’ right not to submit to an ultra vires proceeding and to shield Plaintiffs from

irreparable reputational and financial harm, as well as the irremediable loss of their claims

through mootness.

                                              FACTS

       Mr. Hurry and his wife, Justine, formed SCA in 2001. Ex. A (Henry Diekmann Decl.)

¶ 6. Since that time, the company has grown to become a leader in microcap-securities trading in

the OTC market. Id.

       In 2013, Mr. Hurry organized Cayman Securities Clearing and Trading SEZC Ltd.

(“CSCT”) in the Special Economic Zone of the Cayman Islands to serve as an offshore broker-

dealer for foreign clients. Ex. A ¶ 9. CSCT became a customer of SCA and, through its account

there, deposited and liquidated penny stocks on behalf of its own customers. Ex. A ¶ 10. In

early 2014, FINRA commenced an investigation of SCA. FINRA’s investigation focused on

four foreign entities that deposited and sold unregistered stock at CSCT, which in turn routed the

transactions to SCA. Ex. A ¶ 12.

       On May 15, 2015, FINRA instituted a disciplinary proceeding against Plaintiffs.

FINRA’s complaint alleges, in sum and substance, that (i) certain transactions in unregistered


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securities that CSCT routed through SCA on behalf of several CSCT customers violated Section

5 of the Securities Act and (ii) Plaintiffs’ supervisory processes and procedures were not

reasonably designed to detect and prevent violations of Section 5. Ex. B (FINRA Compl.)

¶¶ 143–96. As a result of these purported Securities Act violations, the complaint charges

Plaintiffs with violating FINRA Rule 2010, the organization’s catch-all ethical rule. Ex. B

¶¶ 156, 176, 196. FINRA has requested that the Hearing Officer “order that one or more of the

sanctions provided under FINRA Rule 8310(a) be imposed, including but not limited to full

disgorgement of any and all ill-gotten gains . . . , together with interest.” Ex. B at 42. Rule

8310(a) authorizes FINRA to impose a variety of penalties on its members, including censure,

fines, suspension of FINRA membership or registration, expulsion from FINRA, cancellation or

revocation of FINRA membership, suspension from or bars on association with FINRA

members, entry of temporary or permanent cease-and-desist orders, and “any other fitting

sanction.” FINRA R. 8310(a). Neither FINRA nor any other regulatory body has found that

Plaintiffs engaged in wrongdoing, and Plaintiffs deny the allegations in FINRA’s complaint.

       In December 2015, Plaintiffs moved FINRA for summary disposition on various

grounds, including the fundamental basis that the disciplinary proceeding exceeded FINRA’s

authority under the Exchange Act. Ex A. ¶ 14. On February 26, 2016, the Hearing Officer, a

FINRA-employed attorney, denied Plaintiffs’ motion. Ex. C (Order Mot. Summ. Disposition).

The hearing officer concluded that the Exchange Act, by empowering FINRA to promulgate and

enforce its own rules, “expressly authorizes” a disciplinary proceeding predicated on violations

of the Securities Act. Ex. C at 6–7. In the Hearing Officer’s view, the Exchange Act’s general

grant of authority to FINRA to formulate rules designed “to promote just and equitable principles


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of trade” and “to protect investors and the public interest” trumps every specific limitation in the

statute, including the Exchange Act’s disparate grants of authority to FINRA and the SEC. Id.

       The FINRA proceeding is scheduled for a two-week hearing beginning June 13, 2016.

Ex. D (Case Mgmt. Order). Deadlines to prepare briefs and witness and exhibit lists are

imminent. Id. The hearing will take place in Los Angeles, California, on the Hearing Officer’s

order. Ex. E (Order Setting Hr’g Los Angeles).

       If FINRA prevails in the hearing, Plaintiffs must navigate FINRA’s internal appellate

process before seeking SEC review. According to FINRA’s rules, a party may appeal the

FINRA Hearing Officer’s decision to the FINRA National Adjudicatory Council (“NAC”),

FINRA R. 9311, or the NAC may initiate a review of the decision sua sponte, FINRA R. 9312.

If no appeal is sought, or if the appeal is denied, then the decision becomes final unless the

FINRA Board of Governors independently calls for review. FINRA R. 9349, 9351. The FINRA

Board “may affirm, modify, or reverse” the NAC’s decision; “affirm, modify, reverse, increase,

or reduce any sanction . . . , or impose any other fitting sanction”; or “remand the disciplinary

proceeding with instructions.” FINRA R. 9351(d). After the decision becomes final within

FINRA, the defendant may petition the SEC for review. 15 U.S.C. § 78s(d)(2). Once the SEC

enters a “final order,” the defendant “may obtain review of the order in the United States Court

of Appeals for the circuit in which he resides or has his principal place of business, or for the

District of Columbia Circuit.” Id. § 78y(a)(1).




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                                           ARGUMENT

I.     This Court Has Subject Matter Jurisdiction

       A.      Federal Question Jurisdiction Exists

       This Court has federal subject matter jurisdiction pursuant to 15 U.S.C. § 78aa and

28 U.S.C. §§ 1331, 1337, 1651, and 2201 because this suit arises under federal law—namely, the

Exchange Act. Further, federal courts have jurisdiction to decide whether FINRA has acted

within its statutory authority. See Fiero v. Fin. Indus. Regulatory Auth., Inc., 660 F.3d 569, 573

& n.5 (2d Cir. 2011).

       B.      The Court’s Jurisdiction Is Unaffected by the Administrative Review Scheme

       This Court’s subject matter jurisdiction is unchanged by the Exchange Act’s system of

administrative review. The Exchange Act provides that the disciplinary decisions of self-

regulatory organizations like FINRA are subject to review, first by the SEC and then by a federal

court of appeals. See 15 U.S.C. §§ 78s(d), 78y(a). Under the Supreme Court’s reasoning in the

Thunder Basin line of cases, an administrative review scheme will divest federal district courts

of jurisdiction only if there is a clear congressional intent to address the type of claim at issue

exclusively within that scheme. See Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207–16

(1994); see also, e.g., Free Enter. Fund v. PCAOB, 561 U.S. 477, 489–91 (2010). This limited

exception to original federal jurisdiction does not apply here because, notwithstanding the

possibility of eventual federal appellate review, a jurisdictional challenge to a self-regulatory

organization’s disciplinary proceedings is not the type of claim Congress directed only to the

administrative system.




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       At the outset, the text of 15 U.S.C. § 78y, which prescribes appellate review of final SEC

decisions, “does not expressly limit the jurisdiction that other statutes confer on district courts,”

including 28 U.S.C. §§ 1331 and 2201. Free Enter. Fund, 561 U.S. at 489. Indeed, as suggested

above, the Supreme Court has made clear that “[p]rovisions for agency review do not restrict

judicial review unless the ‘statutory scheme’ displays a ‘fairly discernible’ intent to limit

jurisdiction, and the claims at issue ‘are of the type Congress intended to be reviewed within

th[e] statutory structure.’” Id. (quoting Thunder Basin, 510 U.S. at 207, 212). Courts “presume

that Congress does not intend to limit jurisdiction if ‘a finding of preclusion could foreclose all

meaningful judicial review’; if the suit is ‘wholly collateral to a statute’s review provisions’; and

if the claims are ‘outside the agency’s expertise.’” Id. (quoting Thunder Basin, 510 U.S. at 212–

13)). Each of the factors that trigger this presumption of preserved federal subject matter

jurisdiction are present here.

       First, Plaintiffs’ claims relating to FINRA’s statutory authority are not “of the type

Congress intended to be reviewed” through a multi-tiered system of internal adjudications. Id.

To the contrary, these claims are wholly collateral to this system and are outside the expertise of

both FINRA and the SEC. Plaintiffs here contest FINRA’s statutory authority to prosecute this

disciplinary action, not FINRA’s interpretation of any particular securities law, FINRA’s factual

findings, or FINRA’s choice of adjudicative forum and any resulting constitutional implications.

Thus, Plaintiffs’ challenge to the very existence of the disciplinary proceeding is akin to the suit

the Supreme Court held to be within federal jurisdiction in Free Enterprise Fund. See id. at 490

(observing that “petitioners object to the Board’s existence, not to any of its auditing standards”).

This posture also distinguishes the instant case from Thunder Basin, in which the petitioners


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challenged an agency’s interpretation of a statute and a regulation relating to the conduct of mine

inspections, 510 U.S. at 214–15, and from recent cases attempting to enjoin SEC administrative

proceedings on the grounds that the manner in which the SEC has appointed its administrative

law judges violates Article II of the Constitution, see, e.g., Bennett v. SEC, No. PWG-15-3325,

2015 WL 9183445, at *1, *9 (D. Md. Dec. 17, 2015).

       Unlike the matter now before this Court, neither Thunder Basin nor the SEC cases have

questioned whether the types of charges levied by the agency could even be tried in the particular

administrative forum. For example, in Bennett, the SEC filed a complaint in an in-house forum

charging Bennett Group Financial Services, LLC and its founder and CEO, Dawn Bennett, with

violating various provisions of the Securities Act, the Exchange Act, and the Investment

Advisers Act of 1940. See Bennett Grp. Fin. Servs., LLC, Exchange Act Release No. 75864

(Sept. 9, 2015). In their federal suit to enjoin the proceeding, the defendants did not contest the

SEC’s statutory authority to try violations of the federal securities laws; rather, they disputed the

constitutionality of the SEC’s use of ALJs in this context, asserting that the prescribed means of

appointing and removing ALJs contravenes Article II. See Bennett, 2015 WL 9183445, at *1,

*9. This is fundamentally different from the present case, which challenges FINRA’s statutory

authority to even initiate a disciplinary proceeding based on alleged violations of the Securities

Act. Indeed, in contrast with the constitutionality of an appointment-and-removal system, the

threshold question of agency jurisdiction cannot await resolution in a later proceeding, as “an

action taken by an agency lacking jurisdiction is a nullity,” United States v. Members of Estate of

Boothby, 16 F.3d 19, 21 n.1 (1st Cir. 1994) (citing Manual Enters. v. Day, 370 U.S. 478, 499 n.5

(1962)); cf. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998) (rejecting the doctrine


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of “hypothetical jurisdiction” because “it carries the courts beyond the bounds of authorized

judicial action and thus offends fundamental principles of separation of powers”).

       Moreover, it would be illogical to presume that Congress intended jurisdictional

challenges, which question the fundamental competency of a forum, to proceed through an

administrative review system. When a party pursues a substantive appeal or asserts a

constitutional claim arising from the conduct of agency proceedings, that party acknowledges the

agency’s authority but maintains that the exercise of that authority has caused legally cognizable

harm. See, e.g., Bennett, 2015 WL 9183445, at *1, *9 (describing the legal basis of the

plaintiffs’ constitutional attack on the SEC’s decision to prosecute them in an administrative

tribunal). Administrative review is rational in these circumstances, as the party has submitted to

the agency’s authority to regulate the substantive conduct at issue and the agency—or, if

necessary, the court of appeals—can afford relief consistent with the administrative system. See,

e.g., Elgin v. Dep’t of Treasury, 132 S. Ct. 2126, 2139–40 (2012) (noting that the plaintiffs’

constitutional challenges to the statute that mandated their dismissal from federal employment

could be decided eventually by the court of appeals and remarking that the plaintiffs’

constitutional claims were “the vehicle by which they seek to reverse the removal decisions [and]

. . . return to federal employment,” relief that the administrative review statute “routinely

affords”). By contrast, when a party avers that the agency lacks jurisdiction altogether, relief

cannot properly be fashioned within the administrative system; not only are all of the agency’s

actions legally void, see Boothby, 16 F.3d at 21 n.1, but, as explained below, any eventual

remedy will fail to correct this fundamental defect in the proceedings.




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       Relatedly, unlike the disputes in Thunder Basin and Bennett et al., neither FINRA nor the

SEC has any particular expertise that furthers the analysis of the issues presented here. FINRA’s

expertise concerns various aspects of the Exchange Act and related issues affecting broker-

dealers. The SEC’s expertise concerns the substantive provisions of the federal securities laws.

Plaintiffs have asserted claims regarding the proper interpretation of the scope of FINRA’s

enabling legislation, a subject implicating general principles of statutory interpretation and

ascertainment of congressional intent. These principles bear no relation to the substantive

expertise of FINRA or the SEC; to the contrary, they are within the core competence of the

federal judiciary.

       In crafting Sections 15A and 19 of the Exchange Act, Congress set plain and

unambiguous limits on FINRA’s authority. See infra Section II.A. Nothing indicates that

Congress chose to leave open any jurisdictional issues on which the substantive expertise of

FINRA or the SEC later could be brought to bear. Cf. Thunder Basin, 510 U.S. at 214–15

(endorsing exclusive agency review of challenges to enforcement actions under the Mine Act in

light of the agency’s expertise interpreting the substantive provisions of that act); Chau v. SEC,

72 F. Supp. 3d 417, 435–36 (S.D.N.Y. 2014) (discussing the SEC’s experience evaluating which

types of cases should be filed in an administrative forum instead of federal court). As the Court

wrote in Free Enterprise Fund, contrasting Thunder Basin and United States v. Ruzicka, 329

U.S. 287 (1946), which “reserved for the agency fact-bound inquiries that . . . rested ultimately

on factors that call for an understanding of the [specific] industry,” “[n]o similar expertise is

required here, and the statutory questions involved do not require technical considerations of

agency policy.” Free Enter. Fund, 561 U.S. at 491.


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       Second, and more importantly, Plaintiffs would be denied “all meaningful judicial

review” if forced to submit to an ultra vires administrative proceeding. Id. at 489; see also, e.g.,

Bebo v. SEC, 799 F.3d 765, 775 (7th Cir. 2015) (declaring this the primary factor). The

disciplinary action to which Plaintiffs have been subjected exceeds FINRA’s statutory authority

under the Exchange Act, rendering the entire proceeding ultra vires. Although Plaintiffs

ultimately may obtain federal appellate review of this claim after several administrative appeals,

that belated judicial review would not be meaningful, as compelled submission to an unlawful

proceeding constitutes the very harm that Plaintiffs seek to avoid. See Boothby, 16 F.3d at 21 n.1

(remarking that “an action taken by an agency lacking jurisdiction is a nullity”). In fact, as

discussed later, courts recognize challenges to an agency’s fundamental authority as grounds for

excusing administrative exhaustion, signaling that delayed judicial review of these types of

contentions fails to afford adequate relief. See, e.g., Philip Morris, Inc. v. Block, 755 F.2d 368,

369–70 (4th Cir. 1985) (noting that exhaustion is excused “when an agency acts in ‘brazen

defiance’ of its statutory authorization” (quoting Mayor & City Council of Balt. v. Mathews, 562

F.2d 914, 920 (4th Cir. 1977) (en banc), vacated on other grounds, 571 F.2d 1273 (4th Cir.

1978) (en banc))); First Jersey Sec., Inc. v. Bergen, 605 F.2d 690, 696 (3d Cir. 1979)

(recognizing an exception to the general requirement of exhaustion when the agency has

committed “a clear and unambiguous statutory . . . violation”); cf. Touche Ross & Co. v. SEC,

609 F.2d 570, 577 (2d Cir. 1979) (excusing exhaustion in a challenge to an SEC proceeding,

even though that proceeding was “not ‘plainly beyond [the SEC’s] jurisdiction,’” because “to

require appellants to exhaust their administrative remedies would be to require them to submit to




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the very procedures which they are attacking”). This reasoning is equally applicable here, as

judicial review cannot be “meaningful” if it fails to alleviate irreparable harm.

       C.      Administrative Exhaustion Is Unnecessary

       Further, Plaintiffs are not required to exhaust their administrative remedies before

bringing this suit because several settled exceptions to the administrative-exhaustion doctrine

apply. In this Circuit, administrative exhaustion is excused when, among other circumstances,

“(1) the dispute is a matter of statutory construction; (2) the utilization of administrative

procedures would cause irreparable injury; and (3) the resort to administrative procedures would

be futile.” McDonald v. Centra, Inc., 946 F.2d 1059, 1063 (4th Cir. 1991). This Circuit also has

embraced the venerable precept that “judicial intervention is authorized when an agency acts in

‘brazen defiance’ of its statutory authorization.” Block, 755 F.2d at 369–70 (quoting Mathews,

562 F.2d at 920). Other circuits recognize broadly similar exceptions. See, e.g., Guitard v. U.S.

Sec’y of Navy, 967 F.2d 737, 741 (2d Cir. 1992) (listing as “established exceptions to the

exhaustion rule” instances where “(1) available remedies provide no ‘genuine opportunity for

adequate relief’; (2) irreparable injury may occur without immediate judicial relief; [and] (3)

administrative appeal would be ‘futile’”); First Jersey Sec., 605 F.2d at 696 (observing that

exhaustion is excused “1) when the administrative procedure is clearly shown to be inadequate to

prevent irreparable injury; or 2) when there is a clear and unambiguous statutory or constitutional

violation”). For related reasons, Plaintiffs’ case is covered by each of these exceptions.

       First, this is a matter of pure statutory construction, McDonald, 946 F.2d at 1063,

concerning the limits of FINRA’s statutory authority. Plaintiffs maintain that FINRA’s

disciplinary proceeding exceeds its authority under the Exchange Act, and the relief Plaintiffs


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seek is restricted to (i) a declaration that FINRA’s enabling legislation does not extend to

enforcement of the Securities Act and (ii) an injunction against a disciplinary proceeding that

violates this statutory limit. Plaintiffs do not request that the Court address any legal issues

related to the substance of the disciplinary proceeding; the Court’s role is limited to addressing

the proper construction of the Exchange Act’s grant of disciplinary authority to FINRA.

       Second, “the utilization of administrative procedures would cause irreparable injury,”

McDonald, 946 F.2d at 1063, and “the available administrative remedies would be insufficient,”

Mohamed v. Holder, 995 F. Supp. 2d 520, 533 (E.D. Va. 2014). Forcing Plaintiffs to participate

in an ultra vires proceeding, and then to appeal through multiple levels of administrative review

before reaching a federal court, would amount to an irreparable injury. See, e.g., Cont’l Can Co.,

U.S.A. v. Marshall, 603 F.2d 590, 597 (7th Cir. 1979) (excusing exhaustion in a challenge to

“duplicative” and “harassing” administrative hearings and reasoning that “[i]f [the defendant] is

forced to defend the numerous prosecutions on the merits before the Commission prior to

seeking a judicial determination that the prosecutions were unwarranted, the injury will have

already been complete and uncorrectable”); see also, e.g., Morgan Keegan & Co., Inc. v. Louise

Silverman Trust, No. JFM-11-2533, 2012 WL 113400, at *5 (D. Md. Jan. 12, 2012) (holding that

forcing a plaintiff to expend resources that cannot later be recovered to participate in an

arbitration that the plaintiff never agreed to is per se irreparable injury). Further, even if

Plaintiffs succeed on the merits in the FINRA disciplinary hearing, thereby bringing an end to

the proceeding, FINRA’s ultra vires conduct would evade judicial review altogether, forever

depriving Plaintiffs of any remedy for the harm associated with submission to an unlawful

proceeding. See Cont’l Can Co., 603 F.2d at 597.


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       Third, “resort to administrative procedures would be futile,” McDonald, 946 F.2d at

1063, in light of the nature of Plaintiffs’ harm and FINRA’s inability to neutrally assess its own

statutory jurisdiction. Indeed, the FINRA-employed attorneys tasked with adjudicating hearings

cannot be expected to resolve a statutory question of first impression in a way that limits

FINRA’s jurisdiction, especially when FINRA itself has taken the view that it has boundless

authority to enforce any of the federal securities laws. To be sure, Plaintiffs provided the

Hearing Officer with an opportunity to address the jurisdictional defects in this proceeding, but

the Hearing Officer unsurprisingly sided with FINRA and endorsed its facially erroneous reading

of the Exchange Act, confirming the futility of seeking relief administratively.

       Fourth, requiring further exhaustion would not advance the purposes of the exhaustion

doctrine, which include “giving the agency an opportunity to develop a factual record, permitting

it to exercise its discretion or to apply its expertise, and promoting efficiency by barring the

premature interruption of the administrative process.” Touche Ross, 609 F.2d at 576. In Touche

Ross, the plaintiffs challenged the SEC’s statutory authority to promulgate a rule authorizing

administrative disciplinary proceedings for violations of the federal securities laws, averring that

the legal infirmity of this rule rendered the SEC proceeding pending against them ultra vires. Id.

at 573. The Second Circuit held that exhaustion was excused with respect to this claim, even

though the SEC’s authority was “not ‘plainly beyond its jurisdiction as a matter of law,’”

because “the issue [was] one of purely statutory interpretation” and there was no need to develop

a factual record or defer to agency expertise or discretion. Id. at 576–77. Importantly, the

Second Circuit also was persuaded by the reality that exhaustion would “require [the plaintiffs]

to submit to the very procedures which they are attacking.” Id. at 577. So too here. Plaintiffs


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raise a question of statutory interpretation that is uniquely appropriate for the federal courts and

requires neither agency expertise nor a factual record, and demanding exhaustion here would

only perpetuate the harm Plaintiffs seek to enjoin.

        Whether a regulator is acting within the scope of its enabling legislation is a serious

matter with serious consequences, and courts therefore recognize the need for immediate

intervention to resolve allegations that a regulator is acting beyond its statutory authority. See,

e.g., Leedom v. Kyne, 358 U.S. 184, 189–90 (1958) (recognizing original federal jurisdiction

over a suit to vacate an NLRB action that clearly violated the NLRA and explaining that “[t]his

Court cannot lightly infer that Congress does not intend judicial protection of rights it confers

against agency action taken in excess of delegated powers”); accord Block, 755 F.2d at 369–70;

First Jersey Sec., 605 F.2d at 696. Where, as here, an agency acts contrary to the plain text of its

enabling legislation, “the courts will not wait for the underlying proceedings to run their course”;

“[r]ather, the[y] will intervene to preserve the status quo, prevent the infringement of substantial

rights that might otherwise be sacrificed, and protect against the subversion of congressional

policy.” Mathews, 562 F.2d at 920.

II.     Plaintiffs Are Entitled to a Preliminary and Permanent Injunction

        To secure a preliminary injunction, the plaintiff must establish that “(1) he is likely to

succeed on the merits, (2) he is likely to suffer irreparable harm in the absence of preliminary

relief, (3) the balance of equities tips in his favor, and (4) an injunction is in the public interest.”

Maages Auditorium v. Prince George’s Cty., Md., 4 F. Supp. 3d 752, 760 (D. Md. 2014)

(quoting Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). There must be a clear

showing that harm is imminent; it is not enough that harm may be possible at some future date.


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Winter, 555 U.S. at 22. “The standard for a preliminary injunction is essentially the same as for

a permanent injunction with the exception that the plaintiff must show a likelihood of success on

the merits rather than actual success.” Amoco Prod. Co. v. Gambell, 480 U.S. 531, 546 n.12

(1986). As explained below, Plaintiffs satisfy the four factors necessary for injunctive relief.

        A.      Plaintiffs Are Correct on the Merits

        An examination of the text and structure of the Exchange Act reveals that FINRA has no

statutory authority to enforce the Securities Act and, correspondingly, demonstrates that

Plaintiffs’ challenge is meritorious.

                1. Exchange Act Sections 15A and 19(g) Together Limit FINRA’s Disciplinary
                   Authority Surrounding the Federal Securities Laws to the Exchange Act

        As a registered national securities association (“RSA”) and self-regulatory organization

(“SRO”), FINRA’s authority to sanction member firms and their associated persons is governed

by Sections 15A and 19 of the Exchange Act. With respect to the federal securities laws,

Sections 15A(b), 15A(h), and 19(g) expressly limit FINRA’s disciplinary authority to violations

of the Exchange Act.

        Concerning RSAs, Section 15A(h) provides: “A determination by the association to

impose a disciplinary sanction shall be supported by a statement setting forth . . . the specific

provision of this chapter, the rules or regulations thereunder, . . . or the rules of the association

which any such act or practice, or omission to act, is deemed to violate.” 15 U.S.C. § 78o-

3(h)(1)(B) (emphasis added). Section 15A(b) contains an identical grant of disciplinary

authority. See id. § 78o-3(b)(2), (7) (requiring an RSA (i) to have capacity “to enforce

compliance by its members and [associated persons], with the provisions of this chapter, the

rules and regulations thereunder, . . . and the rules of the association” and (ii) to promulgate rules

                                                  16
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providing for discipline of members “for violation of any provision of this chapter, the rules or

regulations thereunder, . . . or the rules of the association” (emphasis added)).

         Concerning SROs, Section 19(g) requires an SRO to “comply with the provisions of this

chapter, the rules and regulations thereunder, and its own rules” and empowers it to “enforce

compliance[,] in the case of a registered securities association [such as FINRA], with such

provisions . . . by its members.” Id. § 78s(g)(1)(B) (emphasis added).

         The term “this chapter” in Sections 15A(b), 15A(h), and 19(g) refers to the chapter of the

United States Code where FINRA’s enabling legislation appears: Chapter 2B of Title 15 of the

Code—the Exchange Act. This conclusion is confirmed by the original text of the Exchange Act

and the amendments that added the language now codified in §§ 78o-3 and 78s: all contain the

phrase “this title” in place of “this chapter,” referring to Title I of the Exchange Act. See

Securities Exchange Act of 1934, Pub. L. No. 73-291, ch. 404, tit. I, 48 Stat. 881, 881; see also

Securities Acts Amendments of 1975, Pub. L. No. 94-29, sec. 12(2), (4), § 15A(b)(2), (7),

(h)(1)(B), 89 Stat. 97, 127–28, 130; id. sec. 16, § 19(g)(1)(B), 89 Stat. at 152.

                  2. Exchange Act Section 19(h) Designates the SEC as the Sole Regulator
                     Empowered to Discipline RSA/SRO Members for Violating the Securities Act

         Consistent with this framework, Section 19(h) specifically names the SEC as the only

regulatory body with statutory authority to sanction RSA and SRO members (i.e., broker-dealers

that are members of FINRA and their associated persons) for violations of the Securities Act and

other federal securities laws.1 Section 19(h) provides:


1
  Plaintiffs use the term “disciplinary proceedings” to refer to the sanctions authorized under Sections 15A and 19 of
the Exchange Act, including industry suspensions and associational bars. See, e.g., 15 U.S.C. §§ 78o-3(b)(6),
78s(h)(3). The Securities Act directly authorizes both the SEC and the Department of Justice to institute criminal
and civil proceedings for violations of that statute and to seek other forms of relief provided for in that statute. See,
e.g., id. § 78t.

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         The appropriate regulatory agency for a national securities exchange or registered
         securities association is authorized, by order, if in its opinion such action is
         necessary or appropriate in the public interest, for the protection of investors, or
         otherwise in furtherance of the purposes of this chapter, to suspend for a period
         not exceeding twelve months or to bar any person from being associated with a
         member of such national securities exchange or registered securities association,
         . . . if such appropriate regulatory agency finds, on the record after notice and
         opportunity for hearing, that such person has willfully violated or has effected any
         transaction for any other person who, such person associated with a member had
         reason to believe, was violating with respect to such transaction—

         ....

         (B) in the case of a registered securities association, any provision of the
         Securities Act of 1933, the Investment Advisers Act of 1940, the Investment
         Company Act of 1940, this chapter, the rules or regulations under any of such
         statutes, or the rules of the Municipal Securities Rulemaking Board.

15 U.S.C. § 78s(h)(3).2

         Section 3 of the Exchange Act, in turn, defines the “appropriate regulatory agency” for an

RSA as the SEC. Id. § 78c(a)(34)(E).3 The difference between the express grants of disciplinary

authority in Sections 15A(b), 15A(h), and 19(g), on one hand, and Section 19(h), on the other, is

clear. While the SEC may sanction broker-dealers for violations of any of the federal securities

laws enumerated in section 19(h), the authority of FINRA to sanction its members is limited to

violations of the Exchange Act.

         Indeed, when Congress added Section 19 to the Exchange Act in 1975, it used the

phrases “the Securities Act of 1933” and “the securities laws”—a term Section 3 defines to



2
 Section 19(h)(2) contains an essentially identical grant of authority to “[t]he appropriate regulatory agency for a
self-regulatory organization.” 15 U.S.C. § 78s(h)(2).
3
 Although the Exchange Act does not specifically define the “appropriate regulatory agency for a self-regulatory
organization,” the surrounding definitions make plain that such an agency must be a governmental body. See id.
§ 78c(a)(34) (listing the Comptroller of the Currency, the Board of Governors of the Federal Reserve System, the
FDIC, and the SEC as “appropriate regulatory agenc[ies]” of different market participants).


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include the Securities Act, the Exchange Act, and the Investment Company Act of 1940, among

other federal laws, id. § 78c(a)(47)—in numerous provisions other than those relating to RSAs

and SROs like FINRA.4 In the subsections relating to FINRA’s jurisdiction, Congress opted

neither to list the Securities Act by name, as in Section 19(h), nor to use Section 3’s inclusive

shorthand. This confirms a specific Congressional intent to cabin FINRA’s disciplinary

authority to violations of the Exchange Act.

           To interpret Sections 15A and 19 as functionally equivalent despite their starkly different

language would violate two fundamental principles of statutory construction: first, the notion

that, “[w]here Congress includes particular language in one section of a statute but omits it in

another section of the same Act, it is generally presumed that Congress acts intentionally and

purposely in the disparate inclusion or exclusion,” Russello v. United States, 464 U.S. 16, 23

(1983) (internal quotation marks omitted); and second, the unwavering duty of a court “to give

effect, if possible, to every clause and word of a statute,” Duncan v. Walker, 533 U.S. 167, 174

(2001) (internal quotation marks omitted).

           Unsurprisingly, federal appellate decisions interpreting the scope of FINRA’s statutory

mandate have been sensitive to these considerations and have accorded controlling weight to the

text and structure of the Exchange Act, including its discrepant grants of authority to the SEC

and FINRA. See, e.g., Fiero, 660 F.3d at 574–77. In Fiero, the Second Circuit reversed the

dismissal of a federal complaint seeking a declaration that FINRA lacked statutory authority to

bring judicial actions to collect disciplinary fines. Id. at 573. Of particular importance, the court

contrasted the Exchange Act’s grant of “express statutory authority [to] the SEC to seek judicial


4
    See, e.g., Securities Acts Amendments of 1975, sec. 17(3), § 21(g), 89 Stat. at 155.

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enforcement of penalties” with the statute’s conspicuous silence respecting FINRA, and it

rejected the notion that “the seemingly inexplicable nature of a gap in the FINRA enforcement

scheme . . . support[ed] an inference of inadvertent omission.” Id. at 574–76. The same

reasoning applies here: Congress “was well aware of how to grant an agency” disciplinary

authority over the Securities Act, id. at 575, and its decision not to grant FINRA such authority

merits respect, especially given the internal logic of the statutory scheme, see id. at 576.

               3. FINRA Rule 2010 Must Be Read in the Context of the Exchange Act’s
                  Statutory Scheme

       As noted above, Sections 15A and 19 of the Exchange Act also authorize FINRA to

discipline its members for violations of the organization’s own rules. FINRA has taken the

position that somehow the authority to enforce its own rules translates into the authority to pass

rules encompassing any conduct, resulting in what here amounts to a general police power over

the Securities Act. See, e.g., Dep’t of Enf’t v. Wheeler, Disciplinary Proceeding No.

2010024320101, at *7 (FINRA OHO Feb. 26, 2013); Dep’t of Enf’t v. Midas Sec., LLC, Compl.

No. 2005000075703, at *2 n.1 (FINRA NAC Mar. 3, 2011). That sweeping position is

unquestionably wrong.

       Although the Exchange Act’s references to an association’s authority to enforce its own

rules may seem broad, the provision delineating the permissible scope of an association’s rules

presents a clear limiting principle: the rules cannot be “designed to . . . regulate by virtue of any

authority conferred by this chapter matters not related to the purposes of this chapter or the

administration of the association.” 15 U.S.C. § 78o-3(b)(6) (emphasis added).5




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         To Plaintiffs’ knowledge, no judicial or SEC opinion has ever addressed the statutory

analysis articulated here. While some cases have assumed FINRA’s jurisdiction in similar

circumstances, the specific issue Plaintiffs present has never been addressed;6 to the contrary,

one of the primary cases upon which FINRA has relied to support its flawed position pre-dated

the 1975 amendments to the Exchange Act that named the SEC the only regulatory body with

disciplinary authority over the Securities Act. See Mgmt. Fin., Inc., Exchange Act Release No.

12098, at *1 (Feb. 11, 1976) (resolving the appeal of an NASD disciplinary action initiated in

1974 and citing SEC decisions from 1962 to 1971).

         In fact, a review of FINRA administrative adjudications reveals the actual purpose of

FINRA Rule 2010: it enables FINRA to address generally “unethical” conduct that either (i) is

rooted in violations of the Exchange Act or (ii) otherwise would not be subject to securities-

industry regulatory oversight. See, e.g., Keilen Dimone Wiley, Exchange Act Release No. 76558


5
  Notably, Plaintiffs have identified no FINRA rule prohibiting violations of “the securities laws” or any similarly
expansive construction. It strains credulity to suppose that FINRA would elect to charge Section 5 violations
through Rule 2010 if another FINRA rule were directly applicable.
6
  Although several federal decisions have upheld FINRA sanctions predicated on Section 5 violations, these cases
have not decided the question presented here—namely, whether FINRA’s disciplinary authority reasonably may be
interpreted to reach the Securities Act despite the unequivocal textual limitations in the Exchange Act. See World
Trade Fin. Corp. v. SEC, 739 F.3d 1243 (9th Cir. 2014) (no jurisdictional ruling); Kunz v. SEC, 64 F. App’x 659
(10th Cir. 2003) (same); Sorrell v. SEC, 679 F.2d 1323 (9th Cir. 1982) (rejecting a vagueness challenge to Rule
2010). The same is true of the SEC’s adjudications, which uniformly lack statutory analysis and rely on inapposite
case law. See, e.g., ACAP Fin., Inc., Exchange Act Release No. 70046, at *10 (July 26, 2013) (“In the FINRA
proceeding, ACAP conceded that it engaged in unregistered sales of Greyfield securities in violation of Securities
Act Section 5 and, in so doing, violated NASD Conduct Rule 2110. We find that the record amply supports
ACAP’s concessions and accordingly affirm FINRA’s finding of violation.” (footnote omitted)); Midas Sec., LLC,
Exchange Act Release No. 66200, at *19 n.63 (Jan. 20, 2012) (“A violation of Securities Act Section 5 also violates
NASD Rule 2110.”). According to Plaintiffs’ research, the only modern SEC opinion that contains any discussion
of the relationship between Section 5 and Rule 2010 confines its analysis to a single sentence and bases its holding
on two SEC cases that treat violations of NASD Rule 3040—an NASD conduct rule prohibiting an employee from
engaging in private securities transactions without notice to his or her employer—as the predicate for the ethical
infraction. See Alvin W. Gebhart, Jr., Exchange Act Release No. 53136, at *24 n.75 (Jan. 19, 2006) (citing Frank
Thomas Devine, Exchange Act Release No. 46746, 78 SEC Docket 2528, 2538 n.30 (Oct. 30, 2002); Stephen J.
Gluckman, Exchange Act Release No. 41628, 54 S.E.C. 175, 185 (July 20, 1999)).


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(Dec. 4, 2015) (converting firm funds); Blair Alexander West, Exchange Act Release No. 74030

(Jan. 9, 2015) (misusing customer funds); Dep’t of Enf’t v. Shvarts, Compl. No. CAF980029

(NASD NAC June 2, 2000) (failing to pay attorney’s fees in contempt of court); Daniel Joseph

Alderman, Exchange Act Release No. 35997 (July 20, 1995) (wrongfully withholding client

funds); Timothy L. Burkes, Exchange Act Release No. 32142 (Apr. 14, 1993) (converting firm

property and falsifying commission-account entries). Indeed, scholarly commentary has long

cast doubt on FINRA’s position.7

           FINRA’s functionally limitless interpretation of Rule 2010 cannot be reconciled with the

current text and structure of the Exchange Act. Concluding that Rule 2010 enables FINRA to

unilaterally grant itself authority to police all aspects of the federal securities laws would nullify

the jurisdictional limits set forth in the Exchange Act and disrupt the clear restraints that

Congress has imposed on FINRA’s authority in the regulation of securities markets. Cf. Fiero,

660 F.3d at 574–77.

                   4. FINRA’s Enabling Legislation Is Subject to a Strict Construction

           In addition to respecting the statutory text, Plaintiffs’ interpretation of the Exchange Act

also conforms to the “general rule” that an administrative agency’s enabling statute must be

strictly construed. 3 Norman J. Singer et al., Sutherland Statutes and Statutory Construction

7
    Writing in 1982 about the NASD, FINRA’s predecessor, two members of the SEC staff observed:

           The NASD has consistently taken the position that any violation of the Exchange Act, its rules and
           regulations, or any statute under the jurisdiction of the Commission may constitute a violation of
           [NASD Rule 2110].

           Notwithstanding NASD practice and [certain] Commission decisions, [however,] the question
           remains as to whether the NASD's authority to enforce, for example, the provisions of the
           Securities Act of 1933 is restricted by its mandate under the Exchange Act.

Lee A. Pickard & Anthony W. Djinis, NASD Disciplinary Proceedings: Practice and Procedure, 37 Bus. Law.
1213, 1221 & n.43 (1982).

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§ 65:2 (7th ed. 2015). This interpretive rule, which is rooted in the premise that administrative

agencies are “purely creatures of legislation without inherent or common-law powers,” id.,

provides that “only those powers are granted which are conferred either expressly or by

necessary implication,” Walker v. Luther, 830 F.2d 1208, 1211 (2d Cir. 1987).

       FINRA’s proffered reading of the Exchange Act, and its corresponding application of

Rule 2010, completely ignores and circumvents this fundamental principle of statutory

interpretation. Simply put, FINRA cannot use its own general ethical rule to expand its

regulatory powers beyond the scope of its enabling legislation. See Fed. Mar. Comm’n v.

Seatrain Lines, Inc., 411 U.S. 726, 745 (1973) (“[A]n agency may not bootstrap itself into an

area in which it has no jurisdiction by repeatedly violating its statutory mandate.”). As the

Supreme Court recently explained, in the context of rejecting the distinction between

“jurisdictional” and “nonjurisdictional” agency interpretations for deference purposes:

       Both [agencies’] power to act and how they are to act is authoritatively prescribed
       by Congress, so that when they act improperly, no less than when they act beyond
       their jurisdiction, what they do is ultra vires. . . . [T]he question—whether framed
       as an incorrect application of agency authority or an assertion of authority not
       conferred—is always whether the agency has gone beyond what Congress has
       permitted it to do . . . .

City of Arlington, Tex. v. FCC, 133 S. Ct. 1863, 1868–69 (2013).

       Sections 15A and 19 of the Exchange Act confirm that Congress has limited FINRA’s

authority to discipline its members to violations of the Exchange Act (and FINRA’s own rules,

which must themselves serve the purposes of the Exchange Act). Authority to pursue

disciplinary actions against broker-dealers and their associated persons for violations of the

Securities Act is granted only to the SEC. Any other conclusion impermissibly conflates the

distinctive text of Sections 15A and 19 and contravenes settled rules of statutory construction.

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               5. FINRA Cannot Develop a Fair and Adequate Factual Record on Section 5
                  Issues Because FINRA Has No Jurisdiction Over Corporate Issuers

       Moreover, the notion that Congress has denied FINRA the authority to enforce the

Securities Act has a logical explanation: the Securities Act concerns issuances of securities, and

FINRA lacks jurisdiction over corporate issuers. See Self-Regulatory Organizations, Exchange

Act Release No. 62434, 75 Fed. Reg. 39603, 39604 (July 1, 2010) (observing that FINRA

“maintains no formal relationship with, or direct jurisdiction over, issuers” and recognizing

“FINRA’s lack of privity with issuers of OTC Securities”). The capacity to fully develop a

record as to whether a securities distribution satisfied Section 5 and its numerous exemptions

thus depends on substantial amounts of information that FINRA has no power to collect. In

contrast, the SEC can collect such information through its expansive governmental subpoena

powers. Accordingly, FINRA cannot be expected to generate a fulsome factual record and

conduct a fair and adequate hearing on Section 5 issues. As a result, Plaintiffs’ argument is

consistent with both the plain text of the Exchange Act and common sense.

       B.      Plaintiffs Will Suffer Irreparable Harm Absent Injunctive Relief

       Without injunctive relief, Plaintiffs will sustain irreparable harm for three reasons: first,

subjecting Plaintiffs to an ultra vires proceeding is per se irreparable harm; second, regardless of

the outcome of the disciplinary hearing on its merits, Plaintiffs will suffer damages they cannot

recover; and third, FINRA contends that it has immunity from private damages suits connected

with the discharge of its regulatory duties.




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               1. Subjecting Plaintiffs to an Ultra Vires Proceeding Necessarily Causes
                  Irreparable Harm

       The very act of subjecting Plaintiffs to an ultra vires proceeding causes irreparable harm.

Being compelled to endure a prosecutorial-style hearing, followed by, if necessary, multiple

levels of administrative review prior to seeking a judicial determination that those very

prosecutions exceeded the bounds of FINRA’s jurisdiction, will result in an injury that is

complete and irreparable. See, e.g., Cont’l Can Co., 603 F.2d at 597 (observing that “[i]f

Continental is forced to defend the numerous prosecutions on the merits before the Commission

prior to seeking a juridical determination that the prosecutions were unwarranted, the injury will

have already been complete and uncorrectable”). Plaintiffs’ requested relief would also be

rendered moot, as “an action taken by an agency lacking jurisdiction is a nullity,” Boothby, 16

F.3d at 21 n.1, and a court of appeals cannot enjoin a proceeding that has already occurred, see,

e.g., Martin–Trigona v. Shiff, 702 F.2d 380, 386 (2d Cir. 1983) (“The hallmark of a moot case or

controversy is that the relief sought can no longer be given or is no longer needed.”).

               2. Irreparable Harm Will Result Regardless of the Outcome of the Hearing

       No matter the outcome of the FINRA hearing, Plaintiffs will suffer significant and

irreparable harm. If FINRA prevails, the resulting damages to Plaintiffs would be catastrophic

and would defy monetization. For example, FINRA seeks sanctions including limits on the

individual Plaintiffs’ ability to associate with broker-dealers and to work in the securities

industry, Ex. B at 42 (citing FINRA R. 8310(a)), and there is no guarantee that any such

sanctions would be stayed during the entirely of the numerous levels of appeal that precede

federal judicial review, see 15 U.S.C. §§ 78s(d)(2), 78y(c)(2) (granting the SEC and the court of

appeals, respectively, the discretion to stay a disciplinary sanction pending appeal). Nor, for that

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matter, is there a mechanism to restore Plaintiffs’ damaged reputations and the resulting loss of

business caused by FINRA’s actions. As SCA’s current president has explained, “The[] harms

[associated with FINRA penalties], and particularly the loss of goodwill . . . would be irreparable

given that, once a finding of liability is made by FINRA, there is no way to turn back time and

erase such a finding in the minds of the public.” Ex. A ¶ 18.

       Conversely, if Plaintiffs succeed on the merits in the FINRA hearing, FINRA’s ultra vires

conduct will evade review altogether. This deprives Plaintiffs of any remedy for the harm

caused by the hearing, including the expenditure of legal fees—estimated to be “in the hundreds

of thousands of dollars” and likely not recoverable under FINRA rules—and the disruption

caused to SCA’s business by requiring multiple key officers to spend two weeks in an

inconvenient, out-of-state forum to participate in an unlawful proceeding. Ex. A ¶ 17.

               3. FINRA’s Potential Claim of Absolute Immunity from Suit Could Foreclose the
                  Possibility of Any Later Recovery by Plaintiffs

       FINRA and its predecessor have argued in courts, with some success, that SROs are

immune from damages in connection with the conduct of their regulatory responsibilities. See,

e.g., Standard Inv. Chartered, Inc., v. Nat’l Ass’n of Sec. Dealers, Inc., 637 F.3d 112, 115 (2d

Cir. 2011) (“There is no question that an SRO and its officers are entitled to absolute immunity

from private damages suits in connection with the discharge of their regulatory

responsibilities.”). Consequently, if Plaintiffs ultimately prevail on their jurisdictional argument

through the administrative appeals process, there is a real risk that Plaintiffs will be unable to

recover any damages from FINRA for the significant harm inflicted upon them. See Ex. A ¶ 17.




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       C.      The Balance of Equities and the Public Interest Strongly Favor Plaintiffs

       When evaluating whether to issue an injunction, courts consider the effect on each party

of granting or denying the requested relief. Winter, 555 U.S. at 24. Here, the balance of equities

heavily favors granting Plaintiffs’ motion.

       At the outset, as explained, Plaintiffs will suffer significant and irreparable harm if they

are denied injunctive relief. By contrast, FINRA will suffer no harm from an injunction that, by

definition, restricts FINRA to its appropriate statutory role. If Plaintiffs’ motion is denied, then

essentially only two possibilities remain: first, Plaintiffs prevail at FINRA’s hearing, which

leaves them with no further recourse and harms the public and investors by leaving FINRA’s

authority unsettled; or second, FINRA prevails at its own hearing, which results in multiple

levels of administrative appeal before the parties appear in federal court to address this same

question. And when Plaintiffs ultimately prevail on the jurisdictional issue, there will be no way

to turn back the clock and pretend as though the ultra vires proceeding, no less the subsequent

appeals, never happened. There is no avenue for obtaining meaningful relief at that point. Thus,

injunctive relief is critical for Plaintiffs and does nothing to FINRA other than, at worst, delaying

proceedings that lack a statutory basis and are therefore void, Boothby 16 F.3d at 21 n.1.

       Lastly, the public and investors will not be harmed by injunctive relief. To the contrary,

they will benefit from the speedy judicial determination of the limits of FINRA’s ability to

enforce statutes beyond its enabling legislation. A decision that announces the extent of

FINRA’s powers will also serve the broker-dealers and investors who are subject to, and affected

by, FINRA’s authority.




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        As a corollary, the absence of harm to FINRA also obviates the need for a bond under

Federal Rule of Civil Procedure 65. Although Rule 65 provides that “a court may issue a

preliminary injunction . . . only if the movant gives security,” Fed. R. Civ. P. 65(c), the district

court “retains the discretion to set the bond amount as it sees fit or waive the security

requirement,” Pashby v. Delia, 709 F.3d 307, 331-32 (4th Cir. 2013). Because “[t]he amount of

the bond . . . ordinarily depends on the gravity of the potential harm to the enjoined party,” a

nominal bond—or no bond at all—is permissible if “the risk of harm is remote” or there is no

evidence regarding the likelihood of harm. Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174

F.3d 411, 421 n.3 (4th Cir. 1999) (citing Int’l Controls Corp. v. Vesco, 490 F.2d 1334 (2d Cir.

1974) (approving the district court’s decision to fix a bond amount at zero in the absence of

evidence of harm)). In light of the foregoing discussion, which establishes the complete want of

harm to FINRA from an injunction pending a declaration of its jurisdiction, no bond is required

here.




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                                         CONCLUSION

       For all of the reasons set forth above, Plaintiffs respectfully request that this Court grant a

preliminary and permanent injunction restraining and enjoining FINRA from continuing the

disciplinary proceeding in FINRA Case No. 2014041724601




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                                                   /s/ Matthew H. Kirtland
                                                   ___________________________________
                                                   Matthew H. Kirtland (Bar No. 26089)
                                                   NORTON ROSE FULBRIGHT US LLP
                                                   799 9th Street NW, Suite 1000
                                                   Washington, D.C. 20001-4501
                                                   Telephone: (202) 662-0200
                                                   Facsimile: (202) 662-4643
                                                   matthew.kirtland@nortonrosefulbright.com

                                                   Of Counsel:
                                                   Kevin Harnisch
                                                   Vijay Rao
                                                   NORTON ROSE FULBRIGHT US LLP
                                                   799 9th Street NW, Suite 1000
                                                   Washington, D.C. 20001-4501

                                                   Ryan Meltzer
                                                   NORTON ROSE FULBRIGHT US LLP
                                                   98 San Jacinto Blvd., Suite 1100
                                                   Austin, TX 78701

                                                   Attorneys for Plaintiffs Scottsdale Capital
                                                   Advisors Corporation, John J. Hurry, Timothy
                                                   B. DiBlasi, and D. Michael Cruz




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